Use TabCase
        key1:21-cr-00312-JEB
            to move from fieldDocument
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                                         81this form.
                                             Filed 02/08/23 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:21-cr-312-1-JEB


BRADLEY STUART BENNETT
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9      RETAINED          9■      FEDERAL PUBLIC DEFENDER



                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Lisa S. Costner; NC State Bar 14308
                                                          (Attorney & Bar ID Number)
                                          Federal Public Defender, Middle District of NC
                                                                 (Firm Name)
                                          251 N. Main St, Ste 849
                                                               (Street Address)

                                          Winston Salem, NC 27101
                                           (City)                 (State)          (Zip)
                                          336-631-5172
                                                             (Telephone Number)
